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 8   JEFFREY BERT and ANDREW SMITH
 9
                            UNITED STATES DISTRICT COURT
10
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   CHARMAINE CHUA, TORIE             )        Case No.: CV 16-00237 JAK (GJSx)
                                       )        Honorable Judge: John A. Kronstadt
13   RIVERA, LYDIA HICKS, and KYLE     )        Honorable Magistrate Judge: Gail J. Standish
                                       )
     TODD, individually and on behalf of a
14                                     )
     class of similarly situated persons, and
                                       )        APPLICATION FOR UNTIMELY
15   the NATIONAL LAWYERS GUILD,       )        NOTICE OF NON-OPPOSITION
                                       )        TO PLAINTIFFS’ MOTION FOR
16                                     )        GENERAL DAMAGES;NOTICE
                          Plaintiffs,  )
                                       )        OF NON-
17   vs.                                        OPPOSTION;DECLARATION OF
                                       )        GEOFFREY PLOWDEN
18                                     )
     CITY OF LOS ANGELES, a municipal )         HON. JOHN A. KRONSTADT
19   entity, CHIEF CHARLIE BECK,       )
                                       )
20   COMMANDER ANDREW SMITH, )
     CAPT. JEFF BERT, and DOES 1 - 10, )
21                                     )
     inclusive,                        )
22                      Defendants.    )
                                       )
23
24   TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR COUNSEL OF
25   RECORD:
26         Defendants hereby apply for an Order allowing an untimely Notice of Non-
27   Opposition, per the Court’s Minute Order of January 10, 2019. (DOC. 119) The
28   ///



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 1   application is based on the following attached Notice of Non-Opposition and
 2   Declaration of Geoffrey Plowden.
 3
 4   Dated: January 10, 2019            MICHAEL N. FEUER, City Attorney
                                        THOMAS H. PETERS, Chief Asst. City Atty
 5
                                        CORY M. BRENTE, Sr. Asst. City Attorney
 6
 7                                             /S/ Geoffrey Plowden
                                                  Geoffrey Plowden,
 8                                               Deputy City Attorney
 9
                                        Attorneys for Defendants
10                                      CITY OF LOS ANGELES, CHARLIE BECK,
11                                      JEFFREY BERT and ANDREW SMITH
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